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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA


                           Alexandria Division


 KEN GRYDER,                  )

      Plaintiff,


 V.                                   Civil Action No. l:17-cv-1258



 HCL AMERICA INC. ET AL,

      Defendants.


                            Memorandum Opinion

      THIS MATTER comes before the Court on Defendant's Motion to


 Dismiss pursuant to Rule 12(b)(6) for failure to state a claim.

      This case arises from a series of events beginning when

Plaintiff was an employee of HCL America, Incorporated ("HCL"),

a contracting firm where he was on assignment to the World Bank

as an information technology ("IT") specialist. Plaintiff brings

this action against Defendants HCL, Ogletree, Deakins, Nash,

Smoak, and Stewart, PC ("Ogletree"), and the American

Arbitration Association ("AAA"). Plaintiff asserts claims of

breach of contract, fraud, and collusion against the Defendants.

      In his complaint, Plaintiff alleges he was wrongfully

terminated by HCL for "stereotyping" another race after he

brought to HCL's attention the possibility of a security breach

to HCL and the World Bank. He alleges the World Bank and HCL,



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